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                                        #:4611


 1 Zachary T. Timm (SBN 316564)
   zach.timm@klgates.com
 2 K&L GATES LLP
   10100 Santa Monica Boulevard
 3 Seventh Floor
   Los Angeles, California 90067
 4 Telephone: 310.552.5000
   Facsimile: 310.552.5001
 5
   Beth W. Petronio, admitted pro hac vice
 6 beth.petronio@klgates.com
   K&L GATES LLP
 7 1717 Main Street, Suite 2800
   Dallas, TX 75201
 8 Telephone: (214) 939-5815
   Facsimile: (214) 939-5849
 9
   Attorneys for Defendant
10 Tyler Technologies, Inc.
11
                         UNITED STATES DISTRICT COURT
12
           CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DIVISION
13
     LENORE ALBERT, et al.                       Case No. 8:24-cv-01997-JLS(DFMx)
14                                               [Assigned to the Hon. Wesley L. Hsu]
                    Plaintiffs,
15                                               TYLER TECHNOLOGIES, INC.’S
           v.                                    RE-NOTICE OF MOTION AND
16                                               MOTION TO DISMISS FIRST
     TYLER TECHNOLOGIES, INC.,                   AMENDED COMPLAINT
17   et al.
18                  Defendants.                  Complaint Filed: September 16, 2024
19                                               Hearing Date:        March 7, 2025
                                                 Time:                10:30 a.m.
20                                               Courtroom:           8A
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     TYLER TECHNOLOGIES, INC.’S RE-NOTICE OF MOTION AND MOTION TO
                  DISMISS FIRST AMENDED COMPLAINT
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                                       #:4612


 1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that on March 7, 2025, at 10:30 a.m. or as soon
 3 thereafter as the matter may be heard in Courtroom 8A of the above-captioned Court,
 4 located at 350 W. 1st Street, Los Angeles, California 90012, Defendant Tyler
 5 Technologies, Inc. (“Tyler”) will and hereby does move to dismiss Plaintiffs’ First
 6 Amended Complaint (the “FAC”), with prejudice, pursuant to Federal Rule of Civil
 7 Procedure 12(b)(6) (the “Motion”).
 8          This Motion is made on the grounds that the Plaintiffs have failed to state any
 9 claim against Tyler upon which relief can be granted. Because no facts exist that can
10 be added to an amended Complaint, dismissal should be with prejudice.
11          This motion is made following the conferences of counsel for Plaintiffs, Tyler,
12 and certain of the State Bar of California defendants pursuant to Local Rule 7-3, which
13 took place on November 12, 2024. (Petronio Decl., ¶ 10.)1 Tyler, by and through its
14 counsel, explained the basis for this Motion, including the grounds upon with relief is
15 sought, but Plaintiffs would not agree to dismiss Tyler with prejudice. Accordingly, the
16 Parties have reached an impasse, requiring Tyler to bring the instant Motion.
17          This Motion is based upon this Re-Notice; all briefing previously filed relating
18 to the Motion (including the original Notice of Motion and Motion and Memorandum
19 of Points and Authorities (Dkt. 80); supporting declaration of Beth W. Petronio and
20 Exhibit thereto (Dkts. 80-1 – 80-2); declaration of Zachary T. Timm and Exhibits
21 thereto (Dkt. 80-3 – 80-8); and Tyler’s Reply Brief (Dkt. 98)); any additional argument
22 and evidence that may be presented to the Court prior to or at the hearing on this Motion;
23 the complete files and records in this action; and such other and further matters as the
24 Court may deem just and proper to consider with this Motion.
25          For the Court’s convenience, Tyler is re-submitting the relevant documents
26 submitted in support of, and opposition to, the Motion as follows:
27
     The claims against Tyler in the FAC were also included in the Plaintiffs’ initial
     1

28 Complaint.  The Parties met and conferred on October 22 and 29, 2024 with respect to
   those claims. (Petronio Decl., ¶ 6; Timm Decl., ¶ 3.)
                                                2
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION
                  TO DISMISS FIRST AMENDED COMPLAINT
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 1        Exhibit 1: Tyler’s Motion to Dismiss First Amended Complaint and
 2        Memorandum of Points and Authorities in Support Thereof (Dkt. 80);
 3        Exhibit 2: Declaration of Beth Petronio and Exhibit A attached thereto (Dkts.
 4        80-1 & 80-2);
 5        Exhibit 3: Declaration of Zachary Timm and Exhibits A-E attached thereto
 6        (Dkts. 80-3 – 80-8);
 7        Exhibit 4: [Proposed] Order submitted with Tyler’s Motion (Dkt. 80-9);
 8        Exhibit 5: Proof of Service of Tyler’s Motion (Dkt. 80-10);
 9        Exhibit 6: Plaintiffs’ Joint Opposition to Tyler’s Motion (Dkt. 88);
10        Exhibit 7: Declaration of Lenore Albert and Exhibits 1-7 attached thereto (Dkts.
11        88-1 – 88-8);
12        Exhibit 8: Plaintiffs’ Request for Judicial Notice (Dkt. 88-9);
13        Exhibit 9: Plaintiffs’ Evidentiary Objections (Dkt. 88-10); and
14        Exhibit 10: Tyler’s Reply Brief in support of its Motion and Proof of Service
15        (Dkts. 98-99).
16
17                                        K&L GATES LLP

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19   Dated: January 8, 2025        By:    /s/ Zachary T. Timm
                                           Beth W. Petronio (admitted pro hac vice)
20                                         Zachary T. Timm
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                                           Attorneys for Defendant
22                                         TYLER TECHNOLOGIES, INC.
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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION
              TO DISMISS FIRST AMENDED COMPLAINT
